UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                20 MAG 2732 (UA)


Donnell Russell
                                                 Defendant(s).
-----------------------------------------------------------------X

Defendant __Donnell Russell__________________________ hereby voluntarily consents to
participate in the following proceeding via ___ videoconferencing or _x__ teleconferencing:

x___     Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

_x__     Bail/Detention Hearing

___      Conference Before a Judicial Officer



  /s Donnell Russell
_______________________________                                      _________________________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_Donnell Russell_______                                              ____Annalisa Mirón___________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
